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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

        DEUNTA BOYETT,                                )
                                                      )
                                Plaintiff,            )      No. 1:21-cv-04345
                                                      )
                         v.                           )      JURY TRIAL DEMANDED.
                                                      )
        MARTEN TRANSPORT SERVICES,                    )
        LTD., a Delaware Corporation, and             )
        MOHAMMAD ALI YASIN,                           )
                                                      )
                                Defendants.           )

                                             COMPLAINT

        NOW COMES the Plaintiff, DEUNTA BOYETT (hereinafter “Plaintiff”), by and

through his attorneys, Gainsberg Law, P.C., complaining of the Defendants, MARTEN

TRANSPORT SERVICES, LTD., a Delaware Corporation and MOHAMMAD ALI YASIN,

states as follows:

                                    NATURE OF ACTION

        1.        This is a cause of action for personal injuries the Plaintiff, DEUNTA BOYETT

sustained on March 24, 2020, in the City of Belvidere, County of Boone, within the Northern

District of Illinois.

                                JURISDICTION AND VENUE

        2.        That Plaintiff, DEUNTA BOYETT is a citizen and a resident of the State of

Illinois.

        3.        That Defendant, MOHAMMAD ALI YASIN is a citizen and a resident of the

State of Texas.
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       4.      That Defendant, MARTEN TRANSPORT SERVICES, LTD. is and was at all

relevant times incorporated in the State of Delaware and its’ principal place of business in the

State of Wisconsin.

       5.      That the amount in controversy exceeds $75,000.00 dollars, as Plaintiff,

DEUNTA BOYETT sustained a concussion as well as a cervical displacement and protrusion

of intervertebral disc of the lumbosacral region, which required physical therapy and medical

treatment for several months. In addition, Plaintiff, DEUNTA BOYETT incurred a loss of

wages as a result of the personal injuries sustained in the subject occurrence.

       6.      That this Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332 on

the basis that there is complete diversity in citizenship and the amount in controversy exceeds

$75,000.00 dollars.

       7.      The alleged wrongful acts of Defendants, MARTEN TRANSPORT

SERVICES, LTD., a Delaware Corporation, and MOHAMMAD ALI YASIN described herein

occurred in the State of Illinois, Northern District of Illinois. In addition, Plaintiff, DEUNTA

BOYETT received medical treatment in the State of Illinois, County of DuPage and other

counties of the Northern District of Illinois—Eastern Division. Therefore, venue in the

Northern District of Illinois is proper pursuant to 28 U.S.C. § 1391(b).

                                       COUNT I
                                      Negligence
                  (DEUNTA BOYETT v. MARTEN TRANSPORT SERVICES, LTD.)

       8.      That on March 4, 2020, and for some time prior and subsequent thereto,

Defendant MARTEN TRANSPORT SERVICES, LTD., a Delaware Corporation, owned,

leased, operated, managed, maintained, and controlled and/or otherwise contracted to own,


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lease, operate, manage, maintain and control a 2015 International freightliner motor vehicle

with VIN no. 3HSDJSNR5FN667252, which operated on 6765 Imron Drive, City of Belvidere,

County of Boone and State of Illinois.

        9.     That on March 24, 2020, and at all times relevant hereto, Defendant

MOHAMMAD ALI YASIN was acting within the course and scope of his employment and/or

agency with Defendant, MARTEN TRANSPORT SERVICES, LTD.

        10.    That on or about March 24, 2020, Plaintiff, DEUNTA BOYETT was legally

and lawfully operating a 2017 Freightliner motor vehicle and parked in the northbound

direction on or about 6765 Imron Drive, City of Belvidere, County of Boone and State of

Illinois.

        11.    That on or about March 24, 2020, Defendant, MOHAMMAD ALI YASIN was

driving a 2015 International freightliner motor vehicle and backing into the parking space

immediately west of Plaintiff’s motor vehicle on or about 6765 Imron Drive, City of Belvidere,

County of Boone and State of Illinois.

        12.    That at the aforesaid time and place, a collision occurred between the motor

vehicle in which Plaintiff, DEUNTA BOYETT was operating and the motor vehicle that the

Defendant, MOHAMMAD ALI YASIN was driving when Defendant, MOHAMMAD ALI

YASIN caused the rear portion of the motor vehicle he was driving to collide with the motor

vehicle Plaintiff, DEUNTA BOYETT was operating.

        13.    That at all times material hereto, it was the duty of the Defendant MARTEN

TRANSPORT SERVICES, LTD., individually and by and through its’ agents, servants, and/or

employees to exercise ordinary care in the ownership, operation, maintenance, and control of


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said motor vehicle for the safety of the person and property of others there and then upon said

roadway and especially the Plaintiff, DEUNTA BOYETT herein.

       14.     That in violation of this duty, the Defendant, MARTEN TRANSPORT

SERVICES, LTD., individually and by and through its agents, servants, and employees acted

or failed to act in one or more of the following ways, amounting to negligent conduct and

violating the Motor Vehicle Laws of the State of Illinois:

               a. Operated said motor vehicle without keeping a proper and sufficient lookout

                   for other motor vehicles in and about the area, and more particularly, for the

                   motor vehicle being operated by the Plaintiff, in violation of the provisions

                   of 625 ILCS 5/11-601;

               b. Proceeded at a speed which was greater than reasonable and proper

                   with regard to traffic conditions in the use of the way, or which

                   endangered the safety of Plaintiff, DEUNTA BOYETT, in violation of

                   the provisions of 625 ILCS 5/11-601;

               c. Failed to decrease the speed of said motor vehicle so as to avoid

                   colliding with the motor vehicle being operated by Plaintiff, DEUNTA

                   BOYETT, contrary to and in violation of the provisions of 625 ILCS

                   5/11-601;

               d. Failed to equip said motor vehicle with proper brakes, contrary to and

                   in violation of the provisions of 625 ILCS 5/12-301;

               e. Failed to give audible warning with said motor vehicle’s horn of the

                   approach of said motor vehicle, although such warning was necessary


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                   to insure the safe operation of said vehicle, contrary to and in violation

                   of the provisions of 625 ILCS 5/12-601;

               f. Failed to keep said motor vehicle under proper control and failed to

                   stop, slow down, or otherwise alter the speed, movement or direction

                   of said vehicle when danger of collision with the motor vehicle being

                   operated by the Plaintiff, DEUNTA BOYETT, was imminent, contrary

                   to and in violation of the provisions of 625 ILCS 5/11-710;

               g. Knowingly drove a motor vehicle with total disregard for the safety and

                   well-being of other motor vehicles, drivers and passengers,

                   particularly, Plaintiff, DEUNTA BOYETT, using the roadways of the

                   State of Illinois, in violation of the provisions of 625 ILCS 5/11-503;

               h. Otherwise acted in a careless or negligent manner in operation and

                   control of said motor vehicle.

       15.     That as a direct and proximate result of Defendant, MARTEN TRANSPORT

SERVICES, LTD., individually and by and through its agents, servants, and/or employees

aforesaid careless and negligent acts and/or omissions, the Plaintiff, DEUNTA BOYETT was

caused to sustain personal injuries, to incur and pay medical and hospital expenses, incur a loss

of wages, and to be absent from his usual pursuits and occupation for a period of time.

       WHEREFORE, Plaintiff, DEUNTA BOYETT prays for judgment against Defendant,

MARTEN TRANSPORT SERVICES, LTD. in an amount in excess of $75,000.00 dollars plus

court costs, attorney’s fees, and for whatever other relief this court deems just and appropriate.




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                                       COUNT II
                                       Negligence
                          (DEUNTA BOYETT v. MOHAMMAD ALI YASIN)

        16.     Plaintiff realleges and incorporates Paragraphs 1 through 15 of this Complaint

as if stated herein.

        17.     That on March 4, 2020, and for some time prior and subsequent thereto,

Defendant MARTEN TRANSPORT SERVICES, LTD., a Delaware Corporation, owned,

leased, operated, managed, maintained, and controlled and/or otherwise contracted to own,

lease, operate, manage, maintain and control a 2015 International freightliner motor vehicle

with VIN no. 3HSDJSNR5FN667252, which operated on 6765 Imron Drive, City of Belvidere,

County of Boone and State of Illinois.

        18.     That on March 24, 2020, and at all times relevant hereto, Defendant

MOHAMMAD ALI YASIN was acting within the course and scope of his employment and/or

agency with Defendant, MARTEN TRANSPORT SERVICES, LTD.

        19.     That on or about March 24, 2020, Plaintiff, DEUNTA BOYETT was legally

and lawfully operating a 2017 Freightliner motor vehicle and parked in the northbound

direction on or about 6765 Imron Drive, City of Belvidere, County of Boone and State of

Illinois.

        20.     That on or about March 24, 2020, Defendant, MOHAMMAD ALI YASIN was

driving a 2015 International freightliner motor vehicle and backing into the parking space

immediately west of Plaintiff’s motor vehicle on or about 6765 Imron Drive, City of Belvidere,

County of Boone and State of Illinois.



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          21.   That at the aforesaid time and place, a collision occurred between the motor

vehicle in which Plaintiff, DEUNTA BOYETT was operating and the motor vehicle that the

Defendant, MOHAMMAD ALI YASIN was driving when Defendant, MOHAMMAD ALI

YASIN caused the rear portion of the motor vehicle he was driving to collide with the motor

vehicle Plaintiff, DEUNTA BOYETT was operating.

          22.   That at all times material hereto, it was the duty of the Defendant,

MOHAMMAD ALI YASIN to exercise ordinary care in the ownership, operation,

maintenance, and control of said motor vehicle for the safety of the person and property of

others there and then upon said roadway and especially the Plaintiff, DEUNTA BOYETT

herein.

          23.   That in violation of this duty, the Defendant, MOHAMMAD ALI YASIN acted

or failed to act in one or more of the following ways, amounting to negligent conduct and

violating the Motor Vehicle Laws of the State of Illinois:

                a. Operated said motor vehicle without keeping a proper and sufficient

                   lookout for other motor vehicles in and about the area, and more

                   particularly, for the motor vehicle being operated by the Plaintiff, in

                   violation of the provisions of 625 ILCS 5/11-601;

                b. Proceeded at a speed which was greater than reasonable and proper

                   with regard to traffic conditions in the use of the way, or which

                   endangered the safety of Plaintiff, DEUNTA BOYETT, in violation of

                   the provisions of 625 ILCS 5/11-601;




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       c. Failed to decrease the speed of said motor vehicle so as to avoid

          colliding with the motor vehicle being operated by Plaintiff, DEUNTA

          BOYETT, contrary to and in violation of the provisions of 625 ILCS

          5/11-601;

       d. Failed to equip said motor vehicle with proper brakes, contrary to and

          in violation of the provisions of 625 ILCS 5/12-301;

       e. Failed to give audible warning with said motor vehicle’s horn of the

          approach of said motor vehicle, although such warning was necessary

          to insure the safe operation of said vehicle, contrary to and in violation

          of the provisions of 625 ILCS 5/12-601;

       f. Failed to keep said motor vehicle under proper control and failed to

          stop, slow down, or otherwise alter the speed, movement or direction

          of said vehicle when danger of collision with the motor vehicle being

          operated by the Plaintiff, DEUNTA BOYETT, was imminent, contrary

          to and in violation of the provisions of 625 ILCS 5/11-710;

       g. Knowingly drove a motor vehicle with total disregard for the safety and

          well-being of other motor vehicles, drivers and passengers,

          particularly, Plaintiff, DEUNTA BOYETT, using the roadways of the

          State of Illinois, in violation of the provisions of 625 ILCS 5/11-503;

       h. Otherwise acted in a careless or negligent manner in operation and

          control of said motor vehicle.




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       24.     That as a direct and proximate result of Defendant, MOHAMMAD ALI YASIN

aforesaid careless and negligent acts and/or omissions, the Plaintiff, DEUNTA BOYETT was

caused to sustain personal injuries, to incur and pay medical and hospital expenses, incur a loss

of wages, and to be absent from his usual pursuits and occupation for a period of time.

       WHEREFORE, Plaintiff, DEUNTA BOYETT prays for judgment against Defendant,

MOHAMMAD ALI YASIN in an amount in excess of $75,000.00 dollars plus court costs,

attorney’s fees, and for whatever other relief this court deems just and appropriate.

                                                              Respectfully submitted,

                                                              GAINSBERG LAW, P.C.


                                                      By:     /s/ Samantha Gutierrez
                                                                  Samantha Gutierrez
                                                                Attorney for Plaintiff


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